      Case 4:96-cr-00239-JHS Document 1226 Filed 01/26/06 Page 1 of 11




                  IN THE UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF PENNSYLVANIA

___________________________________
                                    :
UNITED STATES OF AMERICA,           :
                                    :                Criminal No. 4:CR–96-239
               Respondent,          :
                                    :                Judge Muir
               v.                   :
                                    :
DAVID PAUL HAMMER,                  :
                                    :
               Petitioner.          :
                                    :
___________________________________ :

                   PETITIONER’S BRIEF IN OPPOSITION TO
                     THE GOVERNMENT’S MOTION TO
                       ALTER OR AMEND JUDGMENT

      The Government has moved pursuant to Fed.R.Civ.P. 59 to alter or amend

this Court’s order of December 27, 2005 granting in part Petitioner’s Section 2255

petition and vacating his sentence of death. For the following reasons the

Government’s Motion should be denied.1

I.    Standard of Review

      Fed.R.Civ.P. Rule 59(e) does not permit relitigation of arguments and facts

already presented to and rejected by the court. Brambles v. Blocker, 735 F. Supp.



      1
          All emphasis herein is supplied, unless otherwise noted.
                                           1
      Case 4:96-cr-00239-JHS Document 1226 Filed 01/26/06 Page 2 of 11




1239, 1240 (D. Del. 1990) (“reargument should not be granted where it would

merely ‘allow wasteful repetition of arguments already briefed, considered and

decided.’” (citing and quoting cases)); Weissman v. Fruchtman, 124 F.R.D. 559,

560 (S.D.N.Y . 1989) (same).

      With one exception, the Government’s motion is a rehash of arguments and

authorities already presented to and rejected by this Court. Such a challenge to the

Court’s reasoning, is not properly presented in a Rule 59 motion. Johnson v.

Diamond State Port Corp., 50 Fed.Appx. 554, 560 (3d Cir. 2002) (non-

precedential) (Rule 59 motion does not lie to address an alleged “error [] of

reasoning”). In view of this Court’s exhaustive fact finding and conclusions of

law, the Government has presented no reason to revisit those findings or

conclusions.

      Thus, for the most part, the Government’s Motion is not worthy of response.

However, Petitioner will herein address two points made in the Government’s

Motion – one which is new and the other which is old.

II.   The Alleged Violation of Teague v. Lane is Non-Existent.

      The Government doggedly insists that this Court’s ruling violated the non-

retroactivity doctrine of Teague v. Lane, 489 U.S. 288 (1989), see Government’s

Brief at 11 (Court’s grant of Brady relief is “barred by the Teauge v. Lane non-

                                         2
       Case 4:96-cr-00239-JHS Document 1226 Filed 01/26/06 Page 3 of 11




retroactivity doctrine”); Brief at 17 (Court’s grant of 8th Amendment relief is

barred by Teague). However, in the remainder of the Government’s Brief, there is

no actual Teague argument. Instead, the arguments relate to the merits of the

Court’s ruling on Petitioner’s Brady and mitigation claims. The absence of an

actual Teague argument is notable because it shows that the Government’s

complaint is not really about a Teague violation. Instead, the Government’s actual

complaint is about the propriety of the Court’s ruling on Brady and the Eighth

Amendment violation.

      There is no Teague issue here because this Court has not applied a new rule.

Rather, this Court has applied the specific facts found in this case to the long

standing Brady doctrine and a variety of Eighth Amendment cases. When a lower

federal court applies facts to longstanding principles of law, Teauge is not

implicated. This is explained by Terry Williams v. Taylor, 529 U.S. 362, 391

(2000). In Williams the Court interpreted the operative portions of the habeas

corpus statute related to state convictions, i.e. 28 U.S.C. § 2254(d), which the

Court noted codified Teague. Id. at 380 (“It is perfectly clear that AEDPA

codifies Teague to the extent that Teague requires federal habeas courts to deny

relief that is contingent upon a rule of law not clearly established at the time the

state conviction became final.”). The habeas petitioner in Williams raised an

                                           3
      Case 4:96-cr-00239-JHS Document 1226 Filed 01/26/06 Page 4 of 11




ineffective assistance of counsel claim. The Court stated:

      It is past question that the rule set forth in Strickland qualifies as
      clearly established Federal law, as determined by the Supreme Court
      of the United States. That the Strickland test of necessity requires a
      case-by-case examination of the evidence . . . obviates neither the
      clarity of the rule nor the extent to which the rule must be seen as
      established by this Court.

      In the context of this case, we also note that, as our precedents
      interpreting Teague has demonstrated, rules of law may be
      sufficiently clear for habeas purposes even when they are expressed
      in terms of a generalized standard rather than as a bright-line rule.
      If the rule in question is one which of necessity requires a case-by-
      case examination of the evidence, then we can tolerate a number of
      specific applications without saying that those applications
      themselves create a new rule. . . . Where the beginning point is a rule
      of this general application, a rule designed for the specific purpose of
      evaluating a myriad of factual contexts, it will be the infrequent case
      that yields a result so novel that it forges a new rule, one not dictated
      by precedent.

Williams, 529 U.S. at 391, 382.

      Thus, when a district court applies facts to prior legal principles, i.e.

conducts a “case-by-case examination of the evidence” that application does not

create a new rule within the purview of Teague.

      Like Strickland, Brady sets forth a similar “generalized” standard, which

“requires a case-by-case examination of the evidence [which does not] “[it]self

create a new rule.” The Government’s attempt to dress its Brady reargument in

Teague clothing fails.

                                           4
       Case 4:96-cr-00239-JHS Document 1226 Filed 01/26/06 Page 5 of 11




      Similarly, the Court’s conclusion that Mr. Hammer’s Eighth Amendment

rights were violated when the jury failed to find, and therefore consider,

uncontested mitigating evidence is based upon a number of long-standing

Supreme Court precedents: Lockett v. Ohio, 438 U.S. 586 (1978) (statute that

precluded jury from considering certain mitigating evidence unconstitutional);

Eddings v. Oklahoma, 455 U.S. 104, 114-15 (1982) (sentencer may not disregard

mitigating evidence); Hitchcock v. Dugger, 418 U.S. 393 (1987) (jury instruction

unconstitutionally precluded jury from considering mitigating evidence); Penry v.

Lynaugh, 492 U.S. 302, 319 (1989) (jury must be “given jury instructions that

make it possible for them to give effect to [relevant] mitigating evidence in

determining whether the death penalty should be imposed”).

      Eddings in particular shows that this Court’s Eighth Amendment ruling did

not apply a new rule. In Eddings, the sentencer and the appellate court failed to

weigh some of the mitigating evidence, which was uncontroverted, because they

believed that it did not excuse the crime. The Court reversed and held that the

sentencer’s failure to weigh the uncontroverted mitigating evidence violated the

Eighth Amendment. “The sentencer, and the Court of Criminal Appeals on

review, may determine the weight to be given relevant mitigating evidence. But

they may not give it no weight ....” Eddings, 455 U.S. at 114-15. The Supreme

                                          5
       Case 4:96-cr-00239-JHS Document 1226 Filed 01/26/06 Page 6 of 11




Court held there was Eighth Amendment error despite the fact that the sentencer

(and the appellate court) – just as the jury apparently did in Petitioner’s case –

heard and noted the proffered mitigating evidence before rejecting it. Id. at 109-

10. See Eddings v. State, 616 P.2d 1159, 1169-70 (Okl.1980); Eddings, 455 U.S.

at 117, 119 (O’Connor J., concurring) (Eighth Amendment requires the sentencer

to “consider and weigh all of the mitigating evidence”; where sentencer mentioned

certain mitigating evidence but “believed he could not consider some of the

mitigating evidence in imposing sentence,” Eighth Amendment was violated).

      Eddings thus requires a sentencer to actually weigh uncontroverted

mitigating evidence against the aggravating circumstances. Mere exposure to the

mitigating evidence in the abstract is not enough to satisfy the Eighth Amendment.

      Penry requires the same result. In Penry, the Court explained the holding of

Eddings as follows:

      Eddings makes clear that it is not enough simply to allow the
      defendant to present mitigating evidence to the sentencer. The
      sentencer must also be able to consider and give effect to that
      evidence in imposing sentence.

Penry, 492 U.S. at 319 (citing Hitchcock v. Dugger, 481 U.S. 393 (1987)).2

      2
        Accord Magwood v. Smith, 791 F.2d 1438, 1447-50 (11th Cir. 1986)
(death penalty violates Eighth and Fourteenth Amendments where sentencer fails
to find and give effect to uncontroverted mitigating circumstance: “To find that
mitigating circumstances do not exist where such mitigating circumstances clearly
                                           6
          Case 4:96-cr-00239-JHS Document 1226 Filed 01/26/06 Page 7 of 11




III.   Brown v. Sanders is Inapposite to the Court’s Brady Ruling.

       The Government cites the recent Supreme Court decision in Brown v.

Saunders, — U.S. —, 2006 WL 47402 (Jan. 11, 2006) as supporting its Brady

reargument. Brief at 17. However, Brown is inapposite to this Court’s Brady

ruling.

       In Brown, the Supreme Court recalibrated a portion of its jurisprudence

regarding the impact on a death sentence of a finding that an aggravating

circumstance was unconstitutionally obtained. Prior to Brown, and as set forth in

Petitioner’s Post-Hearing Brief at 35-36 and in this Court’s opinion (United States

v. Hammer, — F. Supp.2d —, 2005 WL 3536206 at *123 (M.D. Pa. Dec. 27,

2005)), when one of multiple aggravating circumstances that was found in a

“weighing” jurisdiction is ruled invalid, and where the jury also found mitigating

factors, the death sentence must be vacated because the unconstitutionally

obtained aggravating factor skewed the weighing process. Brown replaced this

analysis with a new rule:

       An invalidated sentencing factor (whether a[n] [death] eligibility
       factor or not) will render the sentence unconstitutional by reason of
       its adding an improper element to the aggravation scale in the
       weighing process, unless one of the other sentencing factors enables


exist returns us to the state of affairs which were found by the Supreme Court in
Furman v. Georgia to be prohibited by the Constitution”).
                                         7
      Case 4:96-cr-00239-JHS Document 1226 Filed 01/26/06 Page 8 of 11




      the sentencer to give aggravating weight to the same facts and
      circumstances. . . . such skewing [of the weighing process] will
      occur, and give rise to constitutional error, only where the jury could
      not have given aggravating weight to the same facts and
      circumstances under the rubric of some other, valid sentencing factor.

Brown, 2006 WL at * 5 (emphasis in original).

      Brown does not apply for two reasons. First, the Government’s Brady

violation prevented Petitioner from disputing the existence of the aggravating

circumstance of planning and premeditation. Had the Government disclosed the

suppressed Brady material, the jury may well have not found that aggravating

circumstance to exist.

      Second, in Petitioner’s case the jury found two statutory aggravating

factors: that Mr. Hammer substantially planned and premeditated the killing, and

he had been convicted of two or more state or federal offenses punishable by a

term of imprisonment of more than one year. Thus, it is apparent that there is no

“other sentencing factor[] enabl[ing] the sentencer to [have] give[n] aggravating

weight to the same facts and circumstances” implicated by the aggravating factor

that this Court has found invalid. Since there is no other “valid sentencing factor”

related to the invalid factor (i.e. one which the jury could have given aggravating




                                         8
         Case 4:96-cr-00239-JHS Document 1226 Filed 01/26/06 Page 9 of 11




weight to the invalid aggravating circumstance), Brown does not apply.3

      For the foregoing reasons, and based upon the entire record in this litigation,

it is respectfully requested that the Government’s Motion be denied in all respects.

Respectfully Submitted,



/s/ Michael Wiseman                           s/ Anne L. Saunders
MICHAEL WISEMAN, ESQUIRE                      ANNE L. SAUNDERS, ESQUIRE
Supervisory Assistant Federal Defender        Asst. Federal Public Defender
Attorney ID#PA 75342                          Attorney ID #PA 48458
Federal Community Defender for the            100 Chestnut Street, Suite 306
Eastern District of Pennsylvania              Harrisburg, PA 17101
Suite 545 West – The Curtis Center            Tel. No. (717) 782-3843
Philadelphia, PA 19106                        (Anne_Saunders@fd.org)
Tel. No. (215)928-0520
(Michael_Wiseman@fd.org)

Dated:        January 26, 2006
              Philadelphia, PA



      3
         There is no small irony that the Government – which invokes Teague at
every conceivable opportunity (real or imagined) – seeks the application of a new
rule to deny Petitioner the relief he is so clearly due. At the time of Petitioner’s
trial as well as when his conviction became final, the new rule in Brown did not
exist. Nor did it exist when this Court decided this case in 2005. If he were
seeking the benefit of Brown, the Government would correctly argue that Teague
would bar its application. It hardly seems fair that the Government would turn
around and seek the benefit of this new rule. See Lockhart v. Fretwell, 506 U.S.
364, 388 (Stevens, J. dissenting) (“If, under Teague, a defendant may not take
advantage of subsequent changes in the law when they are favorable to him, then
there is no self-evident reason why a State should be able to take advantage of
subsequent changes in the law when they are adverse to his interests.”)
                                          9
Case 4:96-cr-00239-JHS Document 1226 Filed 01/26/06 Page 10 of 11




                               10
      Case 4:96-cr-00239-JHS Document 1226 Filed 01/26/06 Page 11 of 11




                         CERTIFICATE OF SERVICE

       I, Michael Wiseman, of do hereby certify that on this date I served a copy of
the foregoing via Electronic Case Filing and by mail

Frederick E. Martin, Esquire                 Gwynn X. Kinsey, Jr., Esquire
United States Attorney's Office              United States Department of Justice
Federal Building, Room 217                   Criminal Division, Capital Case Unit
228 Walnut Street                            1331 F. Street, N.W.
Harrisburg, PA 17108                         Washington, D.C. 20530




Dated:      January 26, 2006
            Philadelphia, PA

                                             s/ Michael Wiseman
                                             Michael Wiseman
